
                                                                    



















COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH

NO. 2-03-209-CV





IN RE PATTI HICKS, JOE MCCOURRY	RELATORS

AND THE CITY OF THE COLONY



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ORIGINAL PROCEEDING

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MEMORANDUM OPINION
(footnote: 1)
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The court has considered relators’ petition for writ of mandamus and real party in interest’s response and is of the opinion that relief should be denied. &nbsp;Accordingly, relators’ petition for writ of mandamus is denied.

Relators shall pay all costs of this original proceeding, for which let execution issue.



PER CURIAM





PANEL A:	GARDNER, J.; CAYCE, C.J.; and HOLMAN, J.



DELIVERED: July 31, 2003

FOOTNOTES
1:See
 
Tex. R. App. P. 47.4.




